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       EXHIBIT 19
Case 3:17-cv-00072-NKM-JCH Document 457-19 Filed 04/03/19 Page 2 of 5 Pageid#:
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 Kaplan & Company, LLP                                                                  350 Fifth Avenue
                                                                                              Suite 7110
                                                                                      NewYork,NY 10 118
                                                                                         (212) 763-0883
                                                                              www.kaplanandcompany.com

                                                                                        April 24, 2018

 Via Email

 James E. Kolenich, Esq.                                         Elmer Woodard, Esq.
 Kolenich Law Office                                             5661 US Hwy 29
 9435 Waterstone Blvd. #140                                      Blairs, VA 24527
 Cincinnati, OH 45249                                            isuecrooks@comcast.net
 jek318@gmail.com


                Re:     Sines v. Kessler, 17 Civ. 0072 (NKM) (W.D. Va.)

 Dear Mssrs. Kolenich and Woodard:

         I write on behalf of Plaintiffs in the above-captioned action regarding the responses and
 objections ("Responses") of Defendants Cantwell, Damigo, Heimbach, Identity Evropa, Kessler,
 National Socialist Movement ("NSM"), Nationalist Front, Parrott, Ray, Schoep, Traditionalist
 Worker Party ("TWP"), and Vanguard America (collectively, "Defendants") to Plaintiffs'
 [Corrected] First Set of Requests for Production of Documents, served on January 25, 2018
 ("RFPs"). 1 While reserving all rights as to any deficiencies in Defendants' Responses, Plaintiffs
 write pursuant to the Court's direction during the April 19, 2018 telephonic conference that the
 parties meet and confer concerning the issues set forth in Plaintiffs' April 19, 2018 email to the
 Court. Plaintiffs look forward to receiving Defendants' response to this letter by no later than
 May 1, 2018, and are available to meet and confer regarding Defendants' Responses at your
 soonest possible convenience over the next week.

 Defendants Have Waived Any Objections to the RFPs

         With the exception of Defendants Identity Evropa and TWP, Defendants have not
 objected to any of the RFPs and therefore have waived any objections. See, e.g., Southampton
 Pointe Prop. Owners Ass 'n, Inc. v. OneBeacon Ins. Co., No. 2:12-cv-03035-RMG, 2013 WL
 12241830, at *2 (D.S.C. Aug. 27, 2013) (finding plaintiff waived objection by failing to raise in
 response to RFP); see also Hall v. Sullivan, 231 F.R.D. 468,474 (D. Md. 2005) ("[I]mplicit
 within Rule 34 is the requirement that objections to document production requests must be stated
 with particularity in a timely answer .... "). Defendants TWP and Identity Evropa object to
 Plaintiffs' RFPs solely on the ground that "to comply without third party permission or a court
 order violates the Stored Communications Act 18 USC §2701 et seq." This is not a legitimate
 objection (see below), and Defendants TWP and Identity Evropa have waived all other
 objections.



    Capitalized terms used in this letter have the same meaning as in the RFPs.
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 Defendants' Responses Are Inadequate

         Plaintiffs Request that Defendants Confirm They Have No Responsive Documents:
 Several Defendants, including Defendants Heimbach, Nationalist Front, Ray, and Vanguard
 America, responded that there were no documents responsive to any of Plaintiffs' RFPs, or
 "none in [their] possession." Plaintiffs request that by no later than May 1, 2018, any Defendant
 who answered "none" or some variant thereof to any RFP confirm that for each RFP, there are
 no responsive Documents or Communications in that Defendant's possession, custody, or
 control. See Fed. R. Civ. P. 34(a)(l); RFP Instr. H. Defendants are reminded that "possession,
 custody, or control" is not limited to Documents or Communications in the physical possession
 of a Defendant, but rather extends to materials over which each Defendant has custody or
 control. See, e.g., Terry v. Modern Inv. Co., No. 3:04-CV-00085, 2006 WL 2434264, at *6 n.15
 (W.D. Va. Aug. 21, 2006) ("'Control' is defined as the legal right to obtain the document on
 demand."); United States v. 2012 GMC Savannah Van VIN: IGDS7DC40C1145561, No. 2:13 cv
 18, 2014 WL 2215933, at *2 (W.D.N.C. May 29, 2014) ("A party is obligated to produce her
 account records when she has the legal right to those records even though the party does not have
 a copy of the records.").

          Similarly, for those Defendants who responded to any of the RFPs with the response "See
 Attached," "None except as listed above," or some variant thereof, Plaintiffs request that by no
 later than May 1, 2018, each Defendant clarify their Responses so that Plaintiffs can discern
 whether each Defendant is producing Documents and Communications in response to each RFP
 or, alternatively, claiming that they are not in possession, custody, or control of any Documents
 or Communications responsive to the RFP. See, e.g., Porreca v. Mitchell L. Morgan Mgmt.,
 Inc., Civ. No. JFM 08-1924, 2009 WL 400626, at *6-7 (D. Md. Feb. 13, 2009) (ordering
 plaintiffs to provide "full and complete responses" to RFPs when plaintiffs "merely respond[ ed]
 'see attached documents' for every request").

         In addition, Defendants Identity Evropa and TWP have objected to Plaintiffs' RFPs
 solely on the ground that "to comply without third party permission or a court order violates the
 Stored Communications Act 18 USC §2701 et seq."; neither Identity Evropa nor TWP provides
 any further basis for its refusal to produce any documents in response to Plaintiffs' RFPs.
 Accordingly, Plaintiffs request that by no later than May 1, 2018, Defendants Identity Evropa
 and TWP confirm that they do not have in their possession, custody, or control any responsive
 documents such as emails, text messages, receipts, hard copy documents, pictures, videos, audio
 recordings, phone records, or any other kind of Document or Communication, the production of
 which would not be affected by the Stored Communications Act ("SCA"). For example, the
 contract between Defendants Identity Evropa and Eli Mosley, to which Mr. Kolenich referred
 during the April 19 telephonic conference with the Court and described as governing the
 relationship between those parties, would be responsive-based on Mr. Kolenich's description
 alone-to at least RFP Nos. 3 and 6 and would not be affected by the SCA.

         Plaintiffs Request that Defendants Confirm They Will Provide SCA Consents: Certain
 Defendants, including Damigo, Heimbach, and Ray, suggest in their Responses that they would
 have had responsive documents but for their deletion by sites such as Twitter, Facebook, and the
 Daily Stormer. Deactivation or deletion of Social Media accounts or posts does not, however,
 shield otherwise relevant material from discovery. See, e.g., Romanov. Steelcase Inc., 30 Misc.
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 3d 426,435 (N.Y. Sup. Ct. 2010) (ordering plaintiff to deliver to defendant a consent and
 authorization as required by social media website operators to gain access to plaintiffs social
 media records "including any records previously deleted or archived by said operators").
 Moreover, the SCA provides no basis for Identity Evropa, TWP, or any other Defendant to
 refuse to produce Documents and Communications. While the SCA may limit the ability of
 electronic communications and remote computing services to produce certain communications
 without the consent of the relevant user, see 18 U.S.C. § 2702(b)(3) (2012), the SCA does not
 prevent any Defendant from satisfying its discovery obligations, see, e.g., Flagg v. City of
 Detroit, 252 F.R.D. 346,363 (E.D. Mich. 2008) (ordering defendants to give consent for
 retrieval of information subject to the SCA from an internet service provider); see also Al Noaimi
 v. Zaid, No. 11-1156-EFM, 2012 WL 4758048, at *3 (D. Kan. Oct. 5, 2012) (finding the court
 need not resolve motion to quash where it could order the plaintiff to execute a consent to third
 party that satisfies the SCA); supra regarding "control" of documents.

         Plaintiffs request that by no later than May 1, 2018, each Defendant confirm that they
 will provide by no later than May 4, 2018, the necessary SCA consents to permit the providers of
 electronic communication services and remote computer services to provide documents
 responsive to the RFPs. See RFP Instr. H.

 Defendants Have Taken No Steps to Preserve Responsive Information

         RFP No. 8 requests that Defendants produce "[a]ll Documents and Communications
 concerning the steps you have taken to preserve Documents and Communications relevant to the
 lawsuit, including the Documents and Communications responsive to these Requests." In
 response to this Request, Defendants interpose a variety of answers suggesting that no steps were
 taken to preserve relevant information. For example, Defendants Identity Evropa, TWP, and
 Vanguard America all respond that they had taken "no special steps" to preserve relevant
 Documents and Communications. TWP's response is particularly troubling given the issues
 raised in Plaintiffs' Emergency Motion for an Order to Show Cause Why Defendants Matthew
 Parrott and Traditionalist Worker Party Should Not Be Sanctioned for Spoliation and Ordered to
 Permit Plaintiffs to Conduct a Forensic Examination oflnformation Systems. (ECF No. 272.)
 The other Defendants all responded "none" or a variation of "[n]one other than items responsive
 to above requests," but none of the documents produced to date have provided information about
 the steps taken to preserve Documents and Communications relevant to the lawsuit.

          Plaintiffs request that by no later than May 1, 2018, each Defendant confirm whether or
 not they: (1) have taken steps to preserve Documents and Communications relevant to this
 litigation; and (2) are in possession, custody, or control of any Documents or Communications
 concerning steps taken to preserve Documents and Communications relevant to this litigation. 2




 2  To reiterate, Plaintiffs reserve all rights with respect to other aspects of Defendants' Responses. By
 way of example only, certain Defendants, including Schoep and NSM, improperly direct Plaintiffs to
 websites that purportedly contain, among other material, information responsive to Plaintiffs' RFPs.
 Defendants are required to collect responsive material and produce it to Plaintiffs; Defendants cannot
 simply point Plaintiffs to entire websites and expect Plaintiffs to know which information Defendants are
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         Defendants are presumed to be in possession, custody, or control ofrelevant and
 responsive Documents, despite the inadequacies in Defendants' Responses set forth above.
 Accordingly, in addition to taking the steps requested above, and consistent with the Court's
 direction at the March 16, 2018 telephonic conference, Plaintiffs propose that the parties enter
 into the attached Proposed Order and Stipulation for the Production of Electronically Stored
 Information and Proposed Evidence Preservation Stipulation and Order. Please let us know by
 May 1, 2018, if Defendants are prepared to enter into the attached stipulations or if you have any
 comments on the attached.

        Plaintiffs look forward to receiving Defendants' response to this letter by no later than
 May 1, 2018. Plaintiffs continue to reserve all rights with respect to their RFPs and Defendants'
 Responses.




 cc:    Plaintiffs' Counsel of Record

 (Attachments)




 referring to as responsive to the RFPs. Plaintiffs will address this and other deficiencies in Defendants'
 Responses in future correspondence.
